              Case 6:17-cv-00448-MC      Document 65      Filed 11/16/18      Page 1 of 2




Stephen F. English, OSB No. 730843
SEnglish@perkinscoie.com
Cody M. Weston, OSB No. 984290
CWeston@perkinscoie.com
Nathan R. Morales, OSB No. 145763
NMorales@perkinscoie.com
PERKINS COIE LLP
1120 N.W. Couch Street, 10th Floor
Portland, OR 97209-4128
Telephone: 503.727.2000
Facsimile: 503.727.2222

Attorneys for Defendant
Michael H. Schill



                               UNITED STATES DISTRICT COURT

                                      DISTRICT OF OREGON

                                       EUGENE DIVISION

JENNIFER JOY FREYD,                                                          No. 6:17-cv-448-MC

                        Plaintiff,                DEFENDANT MICHAEL H. SCHILL’S
                                                  MOTION FOR SUMMARY JUDGMENT
         v.
                                                  (ORAL ARGUMENT REQUESTED)
UNIVERSITY OF OREGON,
MICHAEL H. SCHILL, and HAL
SADOFSKY,

                        Defendants.


                   I.    CERTIFICATE OF COMPLIANCE WITH L.R. 7-1
         Counsel for Defendant Michael Schill (“Schill”) certifies that, pursuant to Local Rule 7-

1, they have conferred in good faith with plaintiff’s counsel regarding this motion, and the

parties have been unable to resolve the disputed subject matter of the motion.

                               II.    MOTION AND ARGUMENT
         Schill moves for summary judgment on all remaining claims against him. In support of

this motion, Schill wholly adopts and incorporates by reference, as if set forth herein, Defendants


1 - DEFENDANT MICHAEL H. SCHILL’S MOTION                                   Perkins Coie LLP
    FOR SUMMARY JUDGMENT                                             1120 N.W. Couch Street, 10th Floor
                                                                         Portland, OR 97209-4128
142159204.1                                                                Phone: 503.727.2000
                                                                            Fax: 503.727.2222
              Case 6:17-cv-00448-MC     Document 65       Filed 11/16/18        Page 2 of 2




University of Oregon and Hal Sadofsky’s Motion for Summary Judgment (the “University’s

Motion”). Schill does not, however, adopt or incorporate the argument from pages 43-45 of the

University’s Motion, preceding the Conclusion section. Additionally, Schill also wholly adopts

and incorporates the Declarations of Paula A. Barran, Andrea Larson, Hal Sadofsky, Nicholas B.

Allen, David Conover, Brandalee Davis, Gordon C. Nagayama Hall, and Phillip A. Fisher, in

Support of the University’s Motion, as well as all Exhibits attached thereto.

DATED: November 16, 2018                          PERKINS COIE LLP


                                                  By: s/ Nathan R. Morales
                                                      Stephen F. English, OSB No. 730843
                                                      SEnglish@perkinscoie.com
                                                      Cody M. Weston, OSB No. 984290
                                                      CWeston@perkinscoie.com
                                                      Nathan R. Morales, OSB No. 145763
                                                      NMorales@perkinscoie.com
                                                      1120 N.W. Couch Street, 10th Floor
                                                      Portland, OR 97209-4128
                                                      Telephone: 503.727.2000
                                                      Facsimile: 503.727.2222

                                                  Attorneys for Defendant
                                                  Michael H. Schill




2 - DEFENDANT MICHAEL H. SCHILL’S MOTION                                  Perkins Coie LLP
    FOR SUMMARY JUDGMENT                                            1120 N.W. Couch Street, 10th Floor
                                                                        Portland, OR 97209-4128
142159204.1                                                               Phone: 503.727.2000
                                                                           Fax: 503.727.2222
